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        VIA ECF
        Hon. P. Kevin Castel
        United States District Judge
        U.S. District Court, SDNY

                                  Re:   En May Maritime LLC v. Proios S.A., 24-cv-6738-PKC
                                        Restraint of Funds Pursuant to Process of Maritime Attachment
                                        ___________________________________________________

        Dear Judge Castel,

                We represent Plaintiff, En May Maritime LLC, in the matter referenced above. We write,
        in accordance with the Addendum to the Order for the Process of Maritime Attachment (the
        “Addendum”) (Dkt. 9, at p. 4) to advise the Court that on Friday, September 13, 2024, Garnishee
        Interaudi Bank notified the undersigned that it has identified and frozen $1,267,906.79 in funds
        pursuant to the Process of Maritime Attachment and Garnishment (“PMAG”) issued in this case
        and subsequently served upon it. To the extent further funds are identified and restrained pursuant
        to the PMAG, we will advise the Court as directed in the Addendum.

                                                      Respectfully submitted,
                                                      FREEHILL HOGAN & MAHAR LLP

                                                      /s/ Yaakov U. Adler
                                                      Yaakov U. Adler




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